            Case 2:17-cr-00087-TSZ        Document 56     Filed 10/12/17    Page 1 of 2




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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE

 7
        UNITED STATES OF AMERICA,
 8                           Plaintiff,
 9         v.                                           CR17-87 TSZ
10      FREDY RAMON GUTAMA-                             ORDER
        GUTAMA and FABIAN GUTAMA-
11      GUTAMA,
12                           Defendants.

13
            THIS MATTER having come before the Court on the motion of the defendant
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     Fredy Ramon Gutama-Gutama for a continuance of the trial and the pretrial motions due
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     date, docket no. 53, to which defendant Fabian Gutama-Gutama joined at the hearing
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     held on October 12, 2017, and the Court having considered the facts set forth in the
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     motion, the speedy trial waivers executed by defendants, the arguments of counsel at the
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     hearing on October 12, 2017, and the records and files herein, the Court enters the
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     following order:
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            1.     A failure to grant the continuance would deny defense counsel the
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     reasonable time necessary for effective preparation, taking into account the exercise of
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     ORDER - 1
            Case 2:17-cr-00087-TSZ        Document 56     Filed 10/12/17     Page 2 of 2




 1 due diligence, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv). In addition, the

 2 failure to grant a continuance in the proceeding would be likely to result in a miscarriage

 3 of justice, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(i).

 4         2.     The ends of justice will be served by ordering a continuance in this case, as

 5 a continuance is necessary to ensure adequate time for the defense to effectively prepare

 6 for trial. All of these factors outweigh the best interests of the public and defendants in a

 7 more speedy trial, within the meaning of 18 U.S.C. § 3161(h)(7).

 8         For the foregoing reasons, the motion to continue trial, docket no. 53 is

 9 GRANTED. Defendant Fabian Gutama-Gutama is joined with defendant Fredy Ramon

10 Gutama-Gutama for trial. The trial date for both defendants shall be continued from

11 November 13, 2017, to February 5, 2018. Pretrial motions for both defendants are to be

12 filed no later than January 4, 2018.

13         IT IS FURTHER ORDERED that the resulting period of delay from the date of

14 this Order until the new trial date is hereby excluded for speedy trial purposes under

15 18 U.S.C. § 3161(h)(7)(A) and (B).

16         IT IS SO ORDERED.

17         Dated this 12th day of October, 2017.

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                                                      A
                                                      Thomas S. Zilly
                                                      United States District Judge
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     ORDER - 2
